  Case 2:09-md-02047-EEF-MBN Document 8628-9 Filed 04/26/11 Page 1 of 8




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

IN RE: CHINESE-MANUFACTURED                       MDL NO. 2047
DRYWALL PRODUCTS LIABILITY                        SECTION: L
LITIGATION                                        JUDGE FALLON
                                                  MAG. JUDGE WILKINSON
THIS DOCUMENT RELATES TO:
ALL CASES AND

Silva, et al. v. Interior Exterior Building
Supply, LP, et al.
Case No. 09-08030 (E.D. La.)

Silva, et al. v. Arch Insurance Company, et al.
Case No. 09-08034 (E.D. La.)

Payton, et al. v. Knauf Gips, KG, et al.
Case No. 09-07628 (E.D. La.)

Wiltz, et al. v. Beijing New Building Materials
Public Limited Co., et al.
Case No. 2:10-cv-00361 (E.D. La.)

Gross, et al. v. Knauf Gips, KG, et al.
Case No. 2:09-cv-6690 (E.D. La.)

Rogers, et al. v. Knauf Gips, KG, et al.
Case No. 2:10-cv-00362 (E.D. La.)

Amato, et al. v. Liberty Mutual Ins. Co.
Case No. 2:10-cv-00932 (E.D. La.)

Kenneth Abel, et al. v. Taishan Gypsum Co.,
Ltd., f/k/a Shandong Taihe Dongxin Co., Ltd.,
et al.
Case No. 2:11-080 (E.D. La)

Daniel Abreu, et al. v. Gebrueder Knauf
Verwaltungsgesellschaft, KG, et al.
Case No. 2:11-252 (E.D. La.)


                        NOTICE OF PENDENCY AND PROPOSED
                        SETTLEMENT OF INEX CLASS ACTION
Case 2:09-md-02047-EEF-MBN Document 8628-9 Filed 04/26/11 Page 2 of 8




TO THE CONDITIONAL SETTLEMENT CLASS, CONSISTING OF:

All persons or entities with claims, known and unknown, against the Settling Defendants arising
from, or otherwise related in any way to Chinese Drywall sold, marketed, distributed, and/or
supplied by Interior/Exterior Building Supply, L.P. (“InEx”).

PLEASE READ THIS NOTICE CAREFULLY AND IN ITS ENTIRETY: YOU MAY BE
ENTITLED TO RECEIVE A PAYMENT FROM A FUND TO BE CREATED
PURSUANT TO THE PROPOSED SETTLEMENT DESCRIBED HEREIN IF YOU ARE
A MEMBER OF THE CONDITIONAL SETTLEMENT CLASS AND NOT A SETTLING
DEFENDANT.

The purpose of this Notice is to inform you that: (a) a class of which you may be a member has
been conditionally certified for consideration of a proposed settlement with InEx; (b) a
Settlement Agreement Regarding Claims Against Interior-Exterior in MDL 2047 (the “InEx
Settlement”), which provides for the creation of a settlement fund (“Settlement Fund”) and
dismissal of the above-captioned actions as to the Settling Defendants, was entered into on April
25, 2011, and submitted to the Court for its approval; and (c) a hearing on the fairness,
reasonableness and adequacy of the proposed settlement will be held on ______________, 2011,
in the United States Courthouse, 500 Poydras Street, Room ______, New Orleans, Louisiana
70130.

Capitalized terms in this Notice have the same meaning as those defined in the InEx Settlement.

                               Description of the Litigation

On June 15, 2009, the Judicial Panel on Multidistrict Litigation created MDL 2047 in order to
consolidate lawsuits brought in several federal district courts in the Gulf Coast and mid-Atlantic
regions of the United States by property owners whose homes or other properties were damaged
by defective Chinese drywall. Plaintiffs sued the manufacturers of Chinese drywall as well as
homebuilders, developers, installers, realtors, brokers, suppliers, importers, exporters, and
distributors that were involved with Chinese drywall. The Silva actions and the Omni actions
were commenced by complaints filed against InEx, as well as other defendants including the
manufacturers of Chinese Drywall. These actions seek relief on behalf of a class of persons and
entities with claims against InEx arising out of Chinese Drywall.

The complaints make claims based on: strict liability; violations of the Alabama Deceptive
Trade Practices Act (Ala. Code 1975 § 8-19-1, et seq.), the Louisiana Unfair Trade Practices and
Consumer Protection Law (L.SA-R.S. 51:1401, et. seq.), the Texas Deceptive Trade Practices-
Consumer Protection Act (Tex. Bus. Com. Code Ann. § 17.41, et seq.), the Mississippi
Consumer Protection Act (Miss. Code Ann. § 75-24-1, et seq.), other state or federal Consumer
Protection laws and unfair trade practices laws; negligence; private and public nuisance; tort;
equity and medical monitoring; breach of contract; loss of use; loss of enjoyment; personal

                                              2
Case 2:09-md-02047-EEF-MBN Document 8628-9 Filed 04/26/11 Page 3 of 8




injury and related statutory violations; indemnity; contribution; breach of express or implied
warranty; redhibition; negligence per se; violation of Louisiana New Home Warranty Act (La.
R.S. 9:3141, et seq.); Louisiana Products Liability Act (La. R.S. 9:28000.51, et seq.); negligent
discharge of a corrosive substance; unjust enrichment; breach of implied warranty of fitness and
merchantability; breach of implied warranty of habitability; negligent misrepresentation;
building code violations; relief by way of subrogation, contractual indemnity, common law
indemnity and/or contribution against InEx; attorneys’ fees; fraud; and punitive damages,
exemplary damages, multiplication of damages and fines.

InEx denies any wrongdoing whatsoever, and specifically denies having committed any
violation of any law. InEx’s insurers, Arch Insurance Company and Liberty Mutual Fire
Insurance Company (“Insurers”), also deny coverage and liability for InEx’s conduct. InEx and
the Insurers likewise deny the existence of any class except for purposes of this settlement, assert
certain affirmative defenses and deny any liability to any member of the Conditional Settlement
Class.

The Court has not certified a class in the Litigation, other than conditionally for settlement
purposes, and has made no determination that any class could be certified if the Litigation is not
settled hereby. The Court has not determined the merits of any claims or defenses in the
Litigation. This Notice does not imply that there has been any finding of any violation of the
law by InEx or that recovery could be had in any amount.

Counsel for the Conditional Settlement Class (“Settlement Class Counsel”) entered into the InEx
Settlement after weighing the substantial benefits that the members of the Conditional
Settlement Class will receive as a result of the settlement against the probabilities of success and
failure in securing any recovery from InEx by means of further litigation and delay. Settlement
Class Counsel consider it to be in the best interests of the Conditional Settlement Class that the
Litigation be settled in accordance with the terms of the InEx Settlement and believe that the
proposed settlement is fair, reasonable and adequate for the Conditional Settlement Class.

Although InEx denies all liability and the existence of any class (other than for settlement
purposes) in the Litigation, it considers it desirable to settle the Litigation on the terms proposed,
to avoid further expense and inconvenience.

                                Conditional Class Certification

Pursuant to Rule 23 of the Federal Rules of Civil Procedure and an Order of the Court, dated
______, 2011, the Court has preliminarily approved the terms of the InEx Settlement to the
extent that this Notice is being sent to the Conditional Settlement Class, which has been
determined by such Order to exist for settlement purposes only. The Conditional Settlement
Class shall consist of:

        All persons or entities with claims, known and unknown, against the Settling
        Defendants arising from, or otherwise related in any way to Chinese Drywall

                                                3
Case 2:09-md-02047-EEF-MBN Document 8628-9 Filed 04/26/11 Page 4 of 8




       sold, marketed, distributed, and/or supplied by Interior/Exterior Building Supply,
       L.P.

The Settling Defendants are InEx, the Insurers and the “Downstream InEx Releasees”
(including, but not limited to, those listed on Exhibit 1.10 to the InEx Settlement), except that
any Builder listed on Exhibit 1.10 is not a Settling Defendant. Under the InEx Settlement, the
Settling Defendants are not permitted to submit a Proof of Claim for recovery from the
Settlement Fund.

In addition, the Court has certified two subclasses. Subclass (1) consists of all Class Members
with claims arising from property located in Louisiana (“Louisiana Subclass”) and Subclass (2)
consists of all Class Members with claims arising from property located in states other than
Louisiana (the “Non-Louisiana Subclass”). The Court has not certified a class or subclasses in
the Litigation for any other purpose and has made no determination that any class could be
certified if these litigations are not settled hereby. Although the Court has indicated such
preliminary approval of the Settlement, this Notice is not an expression of any opinion by the
Court as to the merits of the claims and defenses which have been asserted in the Litigation. If
the proposed settlement is not finally approved, the conditional certification of the Conditional
Settlement Class will be null and void, and the Litigation will proceed as if there had been no
settlement, conditional certification or notice.

                           Summary of the Proposed Settlement

The Settlement embodied in the InEx Settlement is subject to, and becomes effective only upon,
final, non-appealable approval by the United States District Court for the Eastern District of
Louisiana (“Court”), the Honorable Eldon E. Fallon presiding. Set forth below is a summary
of the principal terms and conditions of the Agreement. The complete Agreement is posted on
the District Court’s Chinese Drywall MDL website at
http://www.laed.uscourts.gov/Drywall/________.pdf, the CPSC website, the Department of
Health websites for Alabama, Louisiana, Mississippi and Texas, and _______________, and is
available for your inspection as described below.

The Settlement provides for the creation by the Insurers, following final approval by the Court,
of a Settlement Fund in the aggregate amount of $8,000,000 minus payments made in prior
Chinese Drywall settlements with InEx and minus the costs of Notice advanced by the Insurers,
in settlement of all claims of the Class Members against InEx arising from InEx’s sale,
marketing, distribution and/or supply of Chinese Drywall. For purposes of the settlement,
Chinese Drywall is defined as:

       any and all drywall products sold, marketed, distributed and/or supplied by InEx
       and which are alleged to be defective, and which were manufactured, in whole
       or in part, in China, or that include components manufactured, in whole or in
       part, in China, including, but not limited to, drywall manufactured by (i) Knauf
       Gips KG; Knauf Plasterboard (Tianjin) Co., Ltd.; Knauf Plasterboard (Wuhu),

                                             4
Case 2:09-md-02047-EEF-MBN Document 8628-9 Filed 04/26/11 Page 5 of 8




       Co., Ltd.; Knauf Plasterboard (Dongguan) Co., Ltd.; Knauf International GmbH;
       Knauf Insulation GmbH; Knauf AMF GmbH & Co. KG; Knauf do Brasil Ltda.,
       Gebr.; Knauf Verwaltungsgesellschaft; P.T. Knauf Gypsum Indonesia
       (collectively, “Knauf”) and (ii) Taishan Gypsum Co., Ltd. f/k/a/ Shandong Taihe
       Dongxin Co., Ltd.; Taian Taishan Plasterboard Co., Ltd.; Pingyi Zhongxin
       Paper-Faced Plasterboard Co., Ltd. f/k/a Shandong Chenxiang Building
       Materials Co., Ltd.; Crescent City Gypsum, Inc.; Beijing New Building Materials
       Public Ltd. Co.; and any other manufacturer of Chinese Drywall, whether
       reactive or not.

In addition, InEx has assigned to members of the Non-Louisiana Subclass its rights and claims
for $72 million of excess insurance and for damages for bad faith or extra-contractual conduct
against its Excess Insurance Carrier, The North River Insurance Company (“North River”).
Also, the Settlement reserves the right of the Louisiana Subclass to pursue a claim against North
River to the extent of the Available Policy Limits of the Excess Policies.

In summary, the Settlement Fund will be allocated to pay for and/or reimburse Class Members
for the costs of remediating Affected Properties and other damages, and it will be used to fund
settlements with InEx pending on the Execution Date of the InEx Settlement. The Settling
Defendants are not permitted to participate in allocation or receive any funds from this
Settlement. Following approval of the Settlement, the Court will determine a fair and equitable
allocation of the Settlement Fund, and Class Members will have an opportunity to comment on
or object thereto. The Court will entertain interventions for the purpose of determining
allocation. The Intervenors in the Litigation will also have standing to comment on allocation
and an opportunity to participate in the allocation process. If the Court finally approves the
Settlement, Proof of Claim forms will be mailed to Class Members and Intervenors who have
not requested an exclusion from the Class.

The Settlement provides that the Plaintiffs’ Steering Committee (“PSC”) appointed by the Court
to oversee the litigation on behalf of plaintiffs, common benefit attorneys and private counsel
for Class Members may petition the Court for an award of attorneys’ fees constituting, in the
aggregate, no more than 32% of the InEx Settlement fund, plus reimbursement of reasonable
expenses including the costs of Notice. The Court will determine the allocation of any fees
awarded. Application to the Court will subsequently be made for the fees and costs incurred in
the administration of the Settlement Fund. Such costs, expenses and counsel and administration
fees as the Court may award shall be paid out of the Settlement Fund. InEx and the Insurers will
not be responsible for any payments beyond their initial contribution to the Settlement Fund.

                                 Requests for Exclusion

Class Members may request exclusion from the Conditional Settlement Class. If you request
exclusion, you will be excluded from sharing in the benefits of this Settlement and from the
binding effect of final approval of this Settlement and dismissal of the Litigation.


                                             5
Case 2:09-md-02047-EEF-MBN Document 8628-9 Filed 04/26/11 Page 6 of 8




IF YOU DO NOT WISH TO EXCLUDE YOURSELF YOU DO NOT HAVE TO DO
ANYTHING AT THIS TIME.

To request exclusion, a written request for exclusion signed by the individual Class Member
must be sent by first-class mail, post-marked on or before ____________, 2011, addressed to
Plaintiffs’ Lead Counsel, Arnold Levin (LEVIN, FISHBEIN, SEDRAN & BERMAN, 510 Walnut
Street, Suite 500, Philadelphia, PA 19106), and to Counsel for InEx, Richard Duplantier
(GALLOWAY, JOHNSON, TOMPKINS, BURR & SMITH, One Shell Square, 701 Poydras Street, 40th
Floor, New Orleans, LA 70139). The request for exclusion must set forth the full name and
current address of the person seeking exclusion and a sentence stating: “The undersigned hereby
requests exclusion from the InEx Settlement Class in the Chinese Drywall Action.”

IF YOU WISH TO PURSUE AN INDIVIDUAL CLAIM AGAINST INEX BY
LITIGATION, ARBITRATION OR OTHERWISE, YOU MUST REQUEST
EXCLUSION; OTHERWISE, IF THE SETTLEMENT IS APPROVED, YOU WILL NOT
BE ABLE TO PURSUE CLAIMS AGAINST INEX ARISING OUT OF CHINESE
DRYWALL.

Persons who request exclusion will not be entitled to share in the benefits of this Settlement nor
will they benefit or be bound by further orders or judgments in the Litigation concerning the
Settlement, if any. InEx and the Insurers have reserved the right to withdraw from the
Settlement in the event any Class Member requests exclusion.

                                    Settlement Hearing

Notice is further hereby given that, pursuant to the Court’s Order, a hearing will be held in
Courtroom __ of the United States Courthouse, 500 Poydras Street, New Orleans, Lousisana
70130, at _______ _.m., on _________, 2011 (the “Fairness Hearing”), for the purpose of
determining whether the proposed Settlement is fair, reasonable and adequate and should be
approved finally by the Court and the Litigation dismissed on the merits and with prejudice as
to the Settling Defendants. The Fairness Hearing may be adjourned from time to time by the
Court without further notice.

CONDITIONAL SETTLEMENT CLASS MEMBERS WHO DO NOT OPPOSE THE
PROPOSED SETTLEMENT DO NOT NEED TO APPEAR AT THE HEARING OR
FILE ANY PAPERS.

You will be represented at the hearing on the fairness of the Settlement by Class Counsel, Russ
Herman, telephone no. (504) 581-4892 and Arnold Levin, telephone no. (215) 592-1500, unless
you enter an appearance in person or through your own counsel. Additionally, Gerald E.
Meunier, telephone no. (504) 522-2304, has been appointed as Counsel for the Louisiana
Subclass, and James Robert Reeves, telephone no. (228) 374-5151, has been appointed as
Counsel for the Non-Louisiana Subclass. As a member of the Conditional Settlement Class, you
will not be personally responsible for attorneys’ fees, costs or disbursements except those of

                                              6
Case 2:09-md-02047-EEF-MBN Document 8628-9 Filed 04/26/11 Page 7 of 8




your own counsel.

At the Fairness Hearing, any Class Member may appear in person or by counsel and show cause
why the Settlement should not be approved and why this action should not be dismissed on the
merits with prejudice. Such Class Member may present any admissible evidence relevant to the
issues to be heard, provided that by ___________________, 2011, such Class Member has
served: (a) a written notice of intention to object to the Settlement setting forth the reasons for
such objections, and, if applicable, to appear at the hearing; and (b) any and all papers in
opposition to the settlement, upon which the objection may be based. The objection must
identify any witnesses intended to be called, the subject area of the witnesses’ testimony, and
all documents to be used or offered into evidence, at the Fairness Hearing. The objection must
be signed by the Class Member and his or her counsel. The objection must contain the caption
of the Litigation and include the name, mailing address, e-mail address, if any (an e-mail address
is not required), and telephone number of the Class Member.

Any intention to object and all such materials must be mailed and post-marked by _______, to
Lead Counsel, Arnold Levin (LEVIN, FISHBEIN, SEDRAN & BERMAN, 510 Walnut Street, Suite
500, Philadelphia, Pennsylvania 19106), and to Counsel for InEx, Richard Duplantier
(GALLOWAY, JOHNSON, TOMPKINS, BURR & SMITH, One Shell Square, 701 Poydras Street, 40th
Floor, New Orleans, LA 70139), who shall be obliged to file the objection with the Court.

Any Class Member who does not so object to the matters noted above shall be deemed to have
waived, and shall be forever foreclosed from raising, any objection to such matters.

                              Effect of Final Court Approval

If the settlement is approved, the Court will enter an order and judgment dismissing the
Litigation on the merits with prejudice to the extent that it asserts claims against the Settling
Defendants, and discharging the Settling Defendants from all claims which were, or could have
been, asserted by you or on your behalf in the Litigation concerning Chinese Drywall.

IF YOU ARE A MEMBER OF THE CONDITIONAL SETTLEMENT CLASS, UNLESS
YOU HAVE CHOSEN AFFIRMATIVELY TO BE EXCLUDED FROM THE CLASS,
UPON COURT APPROVAL OF THE SETTLEMENT YOU WILL BE BOUND BY THE
SETTLEMENT, INCLUDING THE JUDGMENT OF DISMISSAL.

If the Court approves the Settlement, each Class Member who did not request exclusion from
the Conditional Settlement Class will receive a Court Notice with final instructions.




                                              7
Case 2:09-md-02047-EEF-MBN Document 8628-9 Filed 04/26/11 Page 8 of 8




                                  Examination of Papers

The foregoing is only a summary of the Litigation, the claims and the Settlement. The InEx
Settlement Agreement and documents incorporated therein and the pleadings and other papers
filed in the Litigation may be inspected at the office of the Clerk of the Court, U.S. Courthouse,
Room C-151, 500 Poydras Street, New Orleans, Louisiana 70130 or during regular business
hours at the offices of Class Counsel, Russ Herman, HERMAN, HERMAN, KATZ & COTLAR, LLP,
820 O’Keefe Avenue, New Orleans, Louisiana 70113, commencing on ________________,
2011. Any papers Class Counsel and counsel for InEx shall file in support of the Settlement will
be made available for inspection at these locations at the time they are filed. Any questions that
any person to whom this Notice is addressed may have with respect thereto or with respect to
the request for exclusion should be directed to Settlement Class Counsel, or his or her own
counsel.
                                 Schedule of Important Dates

 Beginning _____________, 2011                      Settlement papers may be examined at the
                                                    offices of Class Counsel Russ Herman
 On or before ________________, 2011                Requests for Exclusion from the
                                                    Settlement Class must be mailed to Lead
                                                    Counsel and Counsel for InEx
 On or before ________________, 2011                Objections to the Settlement must be
                                                    mailed to Lead Counsel and Counsel for
                                                    InEx
 ________________, 2011 at ___ _.m                  Fairness Hearing at United States
                                                    Courthouse for the Eastern District of
                                                    Louisiana, 500 Poydras Street, Room
                                                    ______, New Orleans, Louisiana 70130


Dated: New Orleans, Louisiana
______________________, 2011
/s/ ELDON E. FALLON
Judge, United States District Court
for the Eastern District of Louisiana




                                              8
